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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
                                                                :
In re                                                           :      Chapter 11
                                                                :
DITECH HOLDING CORPORATION, et al.,                             :      Case No. 19-10412 (JLG)
                                                                :
                           Debtors.   1                         :      (Jointly Administered)
                                                                :
--------------------------------------------------------------- X
                                                                :
ANGELA and KENNETH ELLISON                                      :
                           Plaintiffs,                          :
                                                                :      Adversary Proceeding No.
v.                                                              :
                                                                :      19-01296 (JLG)
DITECH FINANCIAL, LLC;                                          :
                           Defendant.                           :
                                                                :
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                DEFENDANT’S OPPOSITION TO PLAINTIFFS’ REQUEST
               FOR ENTRY OF DEFAULT BY THE CLERK OF THE COURT



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
     Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
     Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
     Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
     Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
     (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
     Drive, Suite 100, Fort Washington, Pennsylvania 19034.
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TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        Defendant Ditech Financial, LLC (“Ditech”) opposes the Request for Clerk’s Entry of

Default (ECF No. 7) (the “Request”) filed by Plaintiffs Angela and Kenneth Ellison (collectively,

the “Plaintiffs”):

                                       INTRODUCTION

                1.     Ditech opposes the request by Plaintiffs for a default for the simple reason

that the Plaintiffs’ attempted service was defective under the applicable rules. Debtors’ counsel

communicated with Plaintiffs, informed them of the defects in service, and offered to accept

service in return for an agreement on a schedule to respond to the complaint. Instead of agreeing

to a schedule, Plaintiffs filed a request for a default. The Court should deny the request for a

default; Ditech remains willing to accept service of the adversary complaint in return for setting a

schedule for the response.

                                  FACTUAL BACKGROUND

                2.     On June 11, 2019, Plaintiffs filed an adversary proceeding complaint

against Ditech, purportedly seeking money damages, as well as injunctive and declaratory relief,

for pre-petition conduct relating to a state-court foreclosure proceeding. ECF No. 1. (the

“Adversary Proceeding”).

                3.     The summons for the Adversary Proceeding was issued by the Bankruptcy

Court Clerk’s Office on June 12, 2019. ECF No. 2.

                4.     On August 27, 2019, Plaintiff Angela Ellison filed a notarized Affidavit of

Service with the Court. ECF No. 5. Therein, she asserts that she made two attempts at service.

First, she asserts that she served the summons and complaint upon Robertson Anshutz Vetters

LLC, Ditech’s foreclosure law firm, by email and fax, on June 13, 2019. Id. ¶ 2. Second, Plaintiff

states that she served the Adversary Proceeding on July 26, 2019, by fax and UPS ground
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shipment, upon Sunny Singh of Weil, Gotshal & Manges LLP (“Weil”), Ditech’s counsel in the

bankruptcy proceeding. Id. ¶ 3.

               5.       On September 10, 2019, Weil sent Plaintiffs a letter informing them that

their attempts at service were defective under the Bankruptcy Rules and, in the interest of

efficiency, offering to accept service in exchange for setting a schedule for the response – i.e.,

being able to answer, move or otherwise respond to the Adversary Proceeding by October 23,

2019. See September 10, 2019 Letter (attached hereto as Exhibit A).

               6.       On September 14, 2019, Plaintiffs replied that they believed that the service

was proper, rejected Ditech’s offer to accept service in exchange for a briefing schedule and

asserted that they would instead seek a default judgment. See September 14, 2019 Letter to R.

Slack (attached hereto as Exhibit B).

                                           DISCUSSION

               7.       Both of Plaintiffs’ attempts at service were facially defective under the

Bankruptcy Rules because they did not comply with any method of service authorized by Fed. R.

Bankr. P. 7004, nor were the attempts made upon a proper recipient. Additionally, the second

attempt on July 26, 2019 was defective because it was not made within seven days of the issuance

of the summons. Plaintiffs’ attempts at service were therefore defective. As a result, Ditech was

under no legal duty to respond and thus cannot be considered in default.

      PLAINTFFS’ ATTEMPTED SERVICE WAS IMPROPER AND DEFECTIVE

         A.         PLAINTIFFS’ FIRST ATTEMPT AT SERVICE – JUNE 13, 2019

               8.       According to the Plaintiffs’, on June 13, 2019, Plaintiff Angela Ellison sent

the Adversary Proceeding complaint to Robertson Anshutz Vetters LLC by email and fax. ECF

No. 5 ¶ 2.




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               9.      The Bankruptcy Rules do not permit service by email or fax but instead

require that service be effected by “first class mail postage prepaid.” Fed. R. Bankr. P. 7004(b).

This admitted failure to serve by a proper means is by itself sufficient to find that the service was

defective under the Bankruptcy Rules.

               10.     Additionally, service was also deficient because service upon a law firm,

Robertson Anshutz Vetters LLC, even if otherwise proper, does not constitute valid service under

the Bankruptcy Rules. Ditech, which is both a corporation and a debtor in the bankruptcy

proceeding, must be served either under Fed. R. Bankr. P. 7004(b)(3) (service of a corporation) or

Fed. R. Bankr. P. 7004(b)(9) (service of a debtor). Under either provision, service must be sent

by first class mail postage prepaid to the company or debtor itself, rather than their counsel. This

requirement is made even clearer by Fed. R. Bankr. P. 7004(g) (“If the debtor is represented by an

attorney, whenever service is made upon the debtor under this Rule, service shall also be made

upon the debtor's attorney by any means authorized under Rule 5(b) F.R.Civ.P.”). Thus, the

Bankruptcy Rules make it abundantly clear that service upon a debtor’s attorney alone is

insufficient, even if the service wasn’t otherwise defective.

               11.     As a result, Plaintiffs’ June 13, 2019 attempt at service upon Ditech’s non-

bankruptcy counsel by fax and email is facially defective, because it was attempted in a manner

not authorized by the Bankruptcy Rules and was attempted upon a person not authorized to be

served. Ditech was therefore not obligated to respond to the Adversary Proceeding.

        B.      PLAINTIFFS’ SECOND ATTEMPT AT SERVICE – JULY 26, 2019

               12.     Plaintiff Angela Ellison states that, on July 26, 2019, she sent the Adversary

Complaint, by fax and UPS ground shipment, to Sunny Singh of Weil.




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               13.     The Bankruptcy Rules impose a time limit of seven days once a summons

has been issued. Fed. R. Bankr. P. 7004(e). Once that time limit expires, a plaintiff is required to

have another summons issued and served. Here, Plaintiffs’ July 26, 2019 attempt at service was

well after the June 12, 2019 summons had expired and Plaintiffs do not allege, nor is there any

record of, an attempt to have another summons issued and served.

               14.     The deficiencies of the Plaintiffs’ second attempt at service on July 26, 2019

also repeated the same deficiencies of the Plaintiffs first attempt at service on June 13, 2019:

service by fax and UPS ground are not a valid method of service under Fed. R. Bankr. P. 7004(b)(3)

(service of a corporation) or Fed. R. Bankr. P. 7004(b)(9) (service of a debtor). Under either

provision, service must be sent by first class mail postage prepaid. In addition, service upon

Bankruptcy Counsel alone – absent consent -- is deficient service. Fed. R. Bankr. P. 7004(g).

               15.     As a result, Plaintiffs’ July 26, 2019 attempt at service upon Ditech’s

counsel was improper and therefore Ditech was not obligated to respond to the Adversary

Proceeding.

ABSENT PROPER SERVICE, DITECH WAS AND IS NOT REQUIRED TO RESPOND
                 TO THE ADVERSARY PROCEEDING

               16.     Courts within and outside the Second Circuit have uniformly found that

failing to properly serve a summons and complaint creates no obligation on the part of the

defendant to respond and that even if default were to be granted, it would be void. See, e.g., In re

Emmerling, 223 B.R. 860, 866 (B.A.P. 2d Cir. 1997) (holding that an improperly served adversary

proceeding constituted a “procedural nullity” and reversing default judgment); Citizens Bank v.

Decena, 562 B.R. 202, 210 (E.D.N.Y. 2016) (“Fed. R. Civ. P. 55(a) only permits the entry of a

default where a party ‘has failed to plead or otherwise defend.’ However, the [defendant] argues

persuasively that, as a result of the [plaintiff’s] failure to properly serve the adversary pleading by



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certified mail, the [defendant] had no obligation to ‘plead or otherwise defend’ the allegations.”)

In re Mersmann, 505 F.3d 1033, 1043 (10th Cir. 2007), abrogated on other grounds by United

Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260 (2010) (“The obligation to answer the adversary

proceeding complaint is not triggered until the complaint is ‘duly served’ . . . Without proper

service, the defendant cannot be said to have ‘failed to plead or otherwise defend as provided by

these rules’”); Gold Kist, Inc. v. Laurinburg Oil Co., 756 F.2d 14, 19 (3d Cir. 1985) (“A default

judgment entered when there has been no proper service of the complaint is, a fortiori, void, and

should be set aside.”); In re Campbell, 105 B.R. 19, 21 (B.A.P. 9th Cir. 1989) (“A default judgment

entered when there has been no proper service of the complaint is void, and should be set aside.”);

see also Fed. R. Bankr. P. 7012(a) (making the defendant’s obligation to respond to an adversary

complaint contingent on the complaint being “duly served”).

                17.      Similarly, courts have repeatedly held that “actual knowledge of a pending

lawsuit of a pending lawsuit is no substitute for proper service.” Citizens Bank, 562 B.R. at 211.

See also Bogle-Assegai v. Connecticut, 470 F.3d 498, 508 (2d Cir. 2006) (rejecting plaintiff’s

argument that “defective service must be excused where the defendant has received actual notice

and has shown no prejudice” as “unsupported by any authority of this Court”); S.E.C. v. China Ne.

Petroleum Holdings Ltd., 27 F. Supp. 3d 379, 397 (S.D.N.Y. 2014) (dismissing plaintiff’s

argument that its unsuccessful service attempts satisfied the service requirements under the Rules

because they provided actual knowledge because “a defendant's ‘actual knowledge is no substitute

for service.’”) (quoting S.E.C. v. Anticevic, 2009 WL 361739, at *4 (S.D.N.Y. Feb. 13, 2009)); In

re Crysen/Montenay Energy Co., 166 B.R. 546, 554 (S.D.N.Y. 1994) (“[A]ctual knowledge of the

action is not sufficient to deny its motion to dismiss, in that actual notice is no substitute for valid

service of process.”).




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               18.    Because Plaintiffs’ did not, and still have not, properly served Ditech with

their Adversary Proceeding, the Court should deny the Plaintiffs’ Request for default judgment.

Ditech remains willing to accept service and to answer, move or otherwise respond upon the setting

of a reasonable schedule.



Dated: New York, New York                    Respectfully Submitted,
       November 4, 2019

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                                         Exhibit A
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                                          Exhibit B
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